                                       Case 19-50102-gs        Doc 1339       Entered 10/21/19 14:41:59       Page 1 of 12




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                                                                  UNITED STATES BANKRUPTCY COURT
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                                  13
         Reno, NV 89509




                                                                              DISTRICT OF NEVADA
                                  14
                                        In Re:                                               Lead Case No.: BK-19-50102-GS
                                  15                                                         Chapter 7
                                        DOUBLE JUMP, INC.,
                                  16                                                         Jointly Administered with:
                                                                    Debtor.
                                                                                             19-50130-GS DC Solar Solutions, Inc.
                                  17
                                                                                             19-50131-GS DC Solar Distributions, Inc.
                                  18                                                         19-50135-GS DC Solar Freedom, Inc.

                                  19
                                        _ X Affects DC Solar Solutions, Inc.                 MOTION FOR ORDER SHORTENING
                                  20    __X Affects DC Solar Distribution, Inc.              TIME FOR HEARING ON MOTION TO
                                          X Affects DC Solar Freedom, Inc.                   QUASH NOTICES OF DEPOSITION
                                  21                                                         AND/OR FOR PROTECTIVE ORDERS
                                        __X Affects Double Jump, Inc.                        RE DEPOSITIONS OF JEFF AND
                                  22                                                         PAULETTE CARPOFF

                                  23                                                         Hearing Date: OST Requested
                                                                                             Hearing Time:
                                  24

                                  25
                                                 Jeff and Paulette Carpoff (the “Carpoffs”), by and through counsel, Parkinson Phinney and
                                  26
                                       Law Offices of Amy N. Tirre, A Professional Corporation, move for an order setting the hearing on
                                  27

                                  28   the Carpoffs’ Motion to Quash Notice of Depositions and/or for Protective Orders re Depositions

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                                       Case 19-50102-gs      Doc 1339     Entered 10/21/19 14:41:59        Page 2 of 12



                                       of Jeff and Paulette Carpoff (“Motion”) on shortened time and prior to November 6, 2019 when the
                                   1

                                   2   depositions are scheduled. This Motion is supported by the separately-filed Attorney Information

                                   3   Sheet and the attached Declaration of Amy N. Tirre, Esq.

                                   4          A proposed Order is attached hereto as Exhibit 1.
                                   5
                                              WHEREFORE, the Carpoffs pray for an order shortening time for the hearing on their
                                   6
                                       Motion to Quash Notice of Depositions and/or for Protective Orders re Depositions of Jeff and
                                   7
                                       Paulette Carpoff prior to November 6, 2019.
                                   8

                                   9          DATED October 21, 2019.
                                                                                     PARKINSON PHINNEY
                                  10
                                                                                     And
                                  11
                                                                                     LAW OFFICES OF AMY N. TIRRE
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                                                                                     /s/ Amy N. Tirre
                                  14                                                 AMY N. TIRRE, ESQ.
                                  15                                                 Counsel for Jeff Carpoff and Paulette Carpoff
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                                       Case 19-50102-gs        Doc 1339     Entered 10/21/19 14:41:59     Page 3 of 12



                                           DECLARATION OF AMY N. TIRRE IN SUPPORT OF MOTION FOR ORDER
                                   1       SHORTENING TIME FOR HEARING ON MOTION TO QUASH NOTICE OF
                                   2     DEPOSITIONS AND/OR FOR PROTECTIVE ORDERS RE DEPOSITIONS OF JEFF
                                                              AND PAULETTE CARPOFF
                                   3
                                              I, AMY N. TIRRE, being first duly sworn, depose and say under penalty of perjury, that the
                                   4
                                       following assertions of this Declaration are true as follows:
                                   5

                                   6          1.      I am an attorney with the law firm of Law Offices of Amy N. Tirre, A Professional

                                   7   Corporation and admitted to practice law in Nevada and before the United States District Court in

                                   8   and for the District of Nevada.
                                   9
                                              2.      I am co-counsel with Donna T. Parkinson, Esq. and Thomas R. Phinney, Esq. We
                                  10
                                       represent Jeff Carpoff and Paulette Carpoff (“the Carpoffs”) in these jointly administered
                                  11
                                       bankruptcy cases.
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                                              3.      The Carpoffs currently have two motions pending: (1) Motion for Disclosure of
                                  13
         Reno, NV 89509




                                  14   Server and Quickbooks information to Comply with Tax Requirements and Locate Estate Assets

                                  15   (“Quickbooks Motion”) and 2) Motion for Disclosure of Audit List of Mobile Solar Generators to
                                  16   Assist in Locating Estate Assets (“MSG Audit List Motion”). The Quickbooks Motion and the
                                  17
                                       MSG Audit List Motion are sometimes hereafter collectively referred to as the Motions. The
                                  18
                                       Motions are scheduled for hearing on December 9, 2019.
                                  19
                                              4.      Solarmore Management Services, Inc. (“SMS”) has issued two Notice of Depositions
                                  20

                                  21   (“Notices”) for Jeff and Paulette Carpoff. The Notices were served pursuant to Federal Rules of

                                  22   Bankruptcy Procedure (“FRBP”) 7026 and 7030, made applicable by FRBP 9014, in connection

                                  23   with the two Motions.
                                  24          5.      The depositions of Jeff and Paulette Carpoff are scheduled for November 6, 2019
                                  25
                                       (the “Depositions”).
                                  26
                                              6.      Ms. Parkinson has attempted to meet and confer with SMS’s counsel about the
                                  27
                                       Depositions and notified SMS’s counsel that the Carpoffs will likely be asserting their Fifth
                                  28

                                                                                         3
                                       Case 19-50102-gs        Doc 1339      Entered 10/21/19 14:41:59          Page 4 of 12



                                       Amendment Privilege against Self-Incrimination and therefore, the Depositions will be a waste of
                                   1

                                   2   time and money. As this Court is aware, the Carpoffs are the subject of a broad federal inquiry,

                                   3   relating to the debtors as well as the Carpoffs’ other business and personal activities, their real estate

                                   4   transactions, their loans and financing activities and other transactions in which their businesses
                                   5
                                       were involved. Because of the broad federal inquiry, the Carpoffs are unwilling to answer any
                                   6
                                       questions that could be construed as a waiver of their Fifth Amendment Privilege. Determining
                                   7
                                       which questions at the Depositions might open a door to a later argument by the United States that
                                   8
                                       the Carpoffs waived their Fifth Amendment Privilege in these Depositions creates a slippery slope
                                   9

                                  10   that they are unwilling to tread. Accordingly, they seek to quash the Deposition Notices and ask

                                  11   that the Court issue a Protective Order excusing them from appearing and responding to questions
LAW OFFICES OF AMY N. TIRRE




                                  12   at the Depositions.
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                                  13
                                               7.      Moreover, the Carpoffs filed the Motions seeking information that the Chapter 7
         Reno, NV 89509




                                  14
                                       Trustee is withholding. Because the Chapter 7 Trustee is the person withholding information that
                                  15
                                       the Carpoffs need to locate purportedly missing assets and to complete their tax reporting
                                  16

                                  17   requirements, she is the party who should be deposed and explain her position to SMS and not the

                                  18   Carpoffs. Yet, instead of noticing the Chapter 7 Trustee for deposition, SMS seeks discovery

                                  19   against the movants, the Carpoffs. It is the Carpoffs’ position that there is no information that they
                                  20   as the movants can provide to SMS, particularly in light of their Fifth Amendment Privilege, about
                                  21
                                       why the Trustee is withholding information from them that would justify their Depositions by SMS
                                  22
                                       related to these Motions. The Carpoffs have been plain and direct about their need for the
                                  23
                                       information, i.e., so that they can help the Trustee to locate purportedly missing assets and to
                                  24

                                  25   complete their tax reporting requirements. SMS has failed to plainly state the purpose of the

                                  26   Carpoffs’ Depositions in the context of the Motions. The Carpoffs assert that the Depositions are a

                                  27   fishing expedition by SMS and to harass the Carpoffs.
                                  28

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                                       Case 19-50102-gs       Doc 1339      Entered 10/21/19 14:41:59        Page 5 of 12



                                               8.     Based upon the foregoing, I submit that the Court should hear this Motion to Quash
                                   1

                                   2   Notice of Depositions and/or for Protective Orders re Depositions of Jeff and Paulette Carpoff on

                                   3   shortened time prior to November 6, 2019 when the Depositions are scheduled so that the parties

                                   4   can avoid the time and expense of these needless Depositions.
                                   5
                                               9.     As set forth in the Attorney Information Sheet, I reached out to counsel for the
                                   6
                                       Chapter 7 Trustee, Jeffrey Hartman, Esq., and counsel for SMS, Nathan Kanute, Esq., about the
                                   7
                                       request for shortened time and they responded as set forth therein.
                                   8
                                               I declare under penalty of perjury under the laws of the United States that the foregoing is
                                   9

                                  10   true and correct to the best of my knowledge and that this Declaration was executed on October 21,

                                  11   2019.
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                                       Case 19-50102-gs       Doc 1339      Entered 10/21/19 14:41:59       Page 6 of 12




                                   1                                    CERTIFICATE OF SERVICE

                                   2           Pursuant to FRBP 7005 and FRCP 5(b), I certify that I am an employee of Law Offices of
                                       Amy N. Tirre, APC, that I am over the age of 18 and not a party to the above-referenced case, and
                                   3   that on October 21, 2019 I filed and served the foregoing MOTION FOR ORDER
                                       SHORTENING TIME FOR HEARING ON MOTION TO QUASH NOTICE OF
                                   4   DEPOSITIONS AND/OR FOR PROTECTIVE ORDERS RE DEPOSITIONS OF JEFF
                                       AND PAULETTE CARPOFF as indicated:
                                   5
                                       __X__           BY NOTICE OF ELECTRONIC FILING: through Electronic Case Filing
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                                   7                   and/or entities at their email addresses as set forth below:
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                                  13                  collection and processing correspondence for mailing. Under that practice it would
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                                  14                  be deposited with the U.S. Postal Service on 21 October 2019, with postage thereon
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                                       Case 19-50102-gs       Doc 1339     Entered 10/21/19 14:41:59         Page 9 of 12




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                                   8

                                   9
                                              DATED October 21, 2019.
                                  10

                                  11                                              /s/ Genevieve DeLucchi
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Case 19-50102-gs   Doc 1339   Entered 10/21/19 14:41:59   Page 10 of 12




                   EXHIBIT 1




                   EXHIBIT 1
                                       Case 19-50102-gs     Doc 1339        Entered 10/21/19 14:41:59      Page 11 of 12




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                                  19
                                                                            DISTRICT OF NEVADA
                                  20
                                        In Re:                                             Lead Case No.: BK-19-50102-GS
                                  21                                                       Chapter 7
                                        DOUBLE JUMP, INC.,
                                  22                                                       Jointly Administered with:
                                                                  Debtor.
                                                                                           19-50130-GS DC Solar Solutions, Inc.
                                  23
                                                                                           19-50131-GS DC Solar Distributions, Inc.
                                  24                                                       19-50135-GS DC Solar Freedom, Inc.

                                  25    _ X Affects DC Solar Solutions, Inc.               ORDER GRANTING MOTION FOR
                                        __X Affects DC Solar Distribution, Inc.            ORDER SHORTENING TIME FOR
                                  26      X Affects DC Solar Freedom, Inc.                 HEARING ON MOTION TO QUASH
                                                                                           NOTICES OF DEPOSITION AND/OR
                                        __X Affects Double Jump, Inc.                      FOR PROTECTIVE ORDERS RE
                                  27
                                                                                           DEPOSITIONS OF JEFF AND
                                  28                                                       PAULETTE CARPOFF

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                                       Case 19-50102-gs      Doc 1339     Entered 10/21/19 14:41:59        Page 12 of 12




                                   1                                                        Hearing Date: OST Requested
                                                                                            Hearing Time:
                                   2                                                        Estimated Hearing Time:
                                   3

                                   4          Jeff and Paulette Carpoff , having moved this Court for an order shortening time for the

                                   5   hearing on their Motion to Quash Notices of Deposition and/for Protective Orders re Depositions

                                   6   of Jeff and Paulette Carpoff, (Doc. 1336), the Court having considered the presentation with
                                   7   respect thereto, and for good cause shown,
                                   8
                                              IT IS HEREBY ORDERED that the Motion for Order Shortening Time is GRANTED and
                                   9
                                       that the time for notice of a hearing with respect to the Motion to Quash Notices of Deposition and
                                  10
                                       for Protective Orders re Depositions of Jeff and Paulette Carpoff (“Motion”), is hereby shortened
                                  11
                                       so that a hearing thereon shall occur before this Court on ___________________________, 2019,
LAW OFFICES OF AMY N. TIRRE




                                  12
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    (775) 828-0909 Telephone
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                                  13   at _________ __.m. at the U.S. Bankruptcy Court, 300 Booth Street, Reno, Nevada 89509.
         Reno, NV 89509




                                  14          IT IS FURTHER ORDERED that any opposition to the Motion shall be filed and served by
                                  15
                                       __________________________________, 2019, and any reply to the opposition to the Motion shall
                                  16
                                       be filed and served by _______________________________, 2019.
                                  17
                                       Submitted by:
                                  18
                                       By /s/ Amy N. Tirre
                                  19
                                       AMY N. TIRRE, ESQ.
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                                       Counsel for Jeff and Paulette Carpoff
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